     Case 1:17-cr-00224-AT-CMS Document 148 Filed 02/12/20 Page 1 of 2


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


UNITED STATES OF AMERICA,             :
                                      :
                v.                    :
                                      :        CRIMINAL ACTION NO.

ALLEN J.                              :        1:17-cr-0224-AT-1
PENDERGRASS,                          :



                                   ORDER


      Presently before the Court is the Magistrate Judge’s Report and

Recommendation (“R&R”) that this Court deny Defendant Allen J. Pendergrass’s

motion to dismiss Count Six [Doc. 146]. A district judge has broad discretion

to accept, reject, or modify a magistrate judge’s proposed findings and

recommendations. United States v. Raddatz, 447 U.S. 667, 680 (1980). The Court

notes that no objections have been filed in response to the Magistrate Judge’s

Report and Recommendation. Therefore, in accordance with 28 U.S.C. §

636(b)(1) and Rule 59 of the Federal Rules of Criminal Procedure, the Court has

reviewed the Magistrate Judge's Recommendation for clear error and finds none.

      Accordingly, the Court receives the Magistrate Judge’s Report and

Recommendation with approval and hereby ADOPTS the Report and
Case 1:17-cr-00224-AT-CMS Document 148 Filed 02/12/20 Page 2 of 2
